Case 5:20-cv-00676-JGB-KK Document 57 Filed 10/14/21 Page 1 of 1 Page ID #:346




                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES—GENERAL

  Case No.       EDCV 20-676 JGB (KKx)                                 Date October 14, 2021
  Title Andrew Hernandez v. County of Riverside, et al.


  Present: The Honorable         JESUS G. BERNAL, UNITED STATES DISTRICT JUDGE


                MAYNOR GALVEZ                                           Not Reported
                  Deputy Clerk                                          Court Reporter


     Attorney(s) Present for Plaintiff(s):                  Attorney(s) Present for Defendant(s):
                  None Present                                          None Present

  Proceedings:      (IN CHAMBERS) Order to Show Cause


        Before the Court is Defendant County of Riverside’s (“Defendant”) motion for
 summary judgment. (“Motion,” Dkt. No. 49.) The Motion was noticed for hearing on October
 11, 2021, but due to the federal holiday on that date continued to October 18, 2021 at 9:00 a.m.

         Pursuant to Central District of California Local Rule 7-9, a party must file opposition
 papers, or a notice of non-opposition, no later than twenty-one days before the date designated
 for the hearing on the motion. L.R. 7-9. Plaintiff Andrew Hernandez (“Plaintiff”) should have
 filed an opposition, or a notice of non-opposition, no later than September 27, 2021. To date,
 Plaintiff has not filed an opposition to the Motion or offered an explanation for non-response.
 Pursuant to Local Rule 7-12, “[t]he failure to file any required document, or the failure to file it
 within the deadline, may be deemed consent to the granting or denial of the motion.” L.R. 7-12.

         Accordingly, the Court orders Plaintiff to show cause in writing on or before November
 1, 2021 why he failed to file an opposition and why the Motion should not be granted and the
 action dismissed. Failure to respond, or an inadequate response, may result in the dismissal of
 the action. The Court CONTINUES the hearing on the Motion to November 22, 2021 at 9:00
 a.m.

         IT IS SO ORDERED.




  Page 1 of 1                       CIVIL MINUTES—GENERAL                   Initials of Deputy Clerk MG
